Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 1 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 2 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 3 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 4 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 5 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 6 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 7 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 8 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 9 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 10 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 11 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 12 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 13 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 14 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 15 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 16 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 17 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 18 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 19 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 20 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 21 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 22 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 23 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 24 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 25 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 26 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 27 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 28 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 29 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 30 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 31 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 32 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 33 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 34 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 35 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 36 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 37 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 38 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 39 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 40 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 41 of 42
Case 08-31796-bjh11   Doc 904-4 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                             Exhibit Page 42 of 42
